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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division



  ABDI MOHAMMED GUREWARDHER,


                  Petitioner,

                                                                    Civil Case No.         14cv362
                                                                     Criminal No.         2:10cr56


  UNITED STATES OF AMERICA,


                  Respondent,

                                      OPINION AND ORDER


          This     matter      is     before       the       Court     on     Abdi        Mohammed


  Gurewardher's          ("Petitioner")        Motion        to   Vacate,     Set    Aside,        or

  Correct Sentence pursuant to 28 U.S.C.                      § 2255       ("§ 2255 Motion").

  ECF     No.     398.       Petitioner's         § 2255      Motion        argues       that     his

  convictions under 18 U.S.C.                 §§ 924(c)       and 1651 are          illegal due

  to    two     recent     United     States      Supreme         Court     rulings.            After

  reviewing       the     briefs    and    case    file,      the    Court    finds       that     an

  evidentiary            hearing      is      unnecessary           because        the      record

  conclusively          demonstrates       that    Petitioner         is    not    entitled        to

  relief      in his     § 2255     Motion.       See   R.   Gov.    § 2255       Proc.   in U.S.

  Dist.    Cts.    8(a).     For the reasons discussed below,                      Petitioner's

  § 2255 motion is DISMISSED as procedurally defaulted and, in the

  alternative,       DENIED on the merits.
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                        I.   FACTUAL AND PROCEDURAL BACKGROUND


         On April 1,           2010,    the USS Nicholas,                a United States Navy

  frigate,       was    on   a   counter-piracy mission                    in    the       Indian       Ocean

  between Somalia and the Seychelles.                           In the early morning,                    Abdi

  Wali     Dire,       Gabul     Abdullahi         Ali,        and     Mohammed            Modin        Hasan

  approached the Nicholas in an attack skiff ("the attack skiff"),

  believing that the Nicholas was a merchant vessel.                                         While Dire,

  Ali,    and Hasan operated the attack skiff,                         Abdi Mohammed Umar and

  Petitioner           (collectively              with         Dire,         Ali,          and       Hasan,

  "Defendants")          remained       on    a    larger       mother          ship       ("the     mother

  ship")    some distance away.               After firing on the Nicholas,                             Dire,

  Ali,     and     Hasan       quickly       learned       that         they      had        unwittingly

  attacked a naval vessel when the crew of the Nicholas responded

  in kind.         Following a short exchange of gunfire,                              Dire,     Ali,     and

  Hasan fled on the attack skiff.                     The Nicholas pursued the attack

  skiff,     and       captured       it,    Dire,       Ali,     and        Hasan.          During       the

  pursuit,       the    crew     of    the    Nicholas          spotted         on     the     horizon      a

  flashing       light       emanating       from        the     mother         ship.            Once     the

  Nicholas       had    seized    the       attack       skiff,      its      crew     destroyed          the

  attack skiff because the Nicholas did not have the capability to

  bring    the     skiff     aboard the vessel                 and towing            the     skiff      would

  have jeopardized the vessel's ability to pursue the mother ship.

  The    Nicholas       then pursued and             captured          the    mother         ship,      Umar,

  and Petitioner.
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          On     July      7,     2010,    Defendants       were       indicted     by       a    federal

  grand        jury   on        fourteen    counts.        Specifically,           Petitioner            was

  charged        with:      Piracy        under    the    Law     of     Nations     (Count         One) ;

  Attack to Plunder a Vessel                   (Count Two); Act of Violence Against

  Persons on a Vessel                (Count Three);         Conspiracy to Perform an Act

  of   Violence Against              Persons       on a    Vessel        (Count    Four);         Assault

  with     a    Dangerous         Weapon     in    the    Special        Maritime       Jurisdiction

  (Counts        Five      and     Six);     Assault       with      a    Dangerous       Weapon          on

  Federal        Officers          and      Employees       (Counts        Seven        and       Eight);

  Conspiracy Involving a                   Firearm and a          Crime     of    Violence         (Count

  Nine);       Using,      Carrying,        and Possessing a Firearm in Relation to

  a Crime of Violence                 (Counts Ten and Eleven);                   Using,       Carrying,

  and Possessing a Destructive Device                           in Relation        to    a       Crime    of

  Violence        (Count          Twelve);        Carrying      an       Explosive       During          the

  Commission of a Felony (Count Thirteen); and Conspiracy to Carry

  an Explosive During the Commission of a Felony (Count Fourteen).

          Prior to trial,            Petitioner filed a              motion to dismiss              Count

  One,    arguing that his actions did not constitute piracy.                                        Mot.

  to Dismiss,           ECF No.       86.      After determining the definition of

  piracy according to the "law of nations,"                                 as required by 18

  U.S.C.       § 1651, and finding that Petitioner's conduct fell within

  that definition,               the Court denied Petitioner's motion to dismiss

  Count One on October 29,                   2010.       United States v.           Hasan,         747    F.

  Supp. 2d 599           (E.D. Va.         2010) .       Defendants were found guilty on
                                                     3
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  all     counts        after     an    eleven-day             jury    trial.         After       trial,

  Petitioner filed a motion for acquittal on Count One, asking the

  Court    to reconsider the definition of                            "piracy,"      in light of a

  report        from       the     Congressional                Research          Service        ("CRS")

  discussing the legal definition of piracy.                                 Mot. for Acquittal,

  ECF No.       225.       On March      9,    2011,       the    Court       found    that      the    CRS

  report did not present any additional information, regarding the

  definition of piracy,                that the      Court had not already considered

  and    denied        Petitioner's      motion          for    acquittal.           Op.   and Order,

  ECF No.       296.


          The     Court      sentenced         Petitioner              to     a    total        term     of


  imprisonment of life plus nine hundred sixty months.1                                     Petitioner

  appealed his           conviction      to    the       United       States      Court    of    Appeals

  for the       Fourth Circuit,          alleging that,               among other things,               the

  Court improperly instructed the jury as to Count One and denied

  Petitioner's           post-trial       motion           for    acquittal.               The    Fourth

  Circuit affirmed Petitioner and co-defendants'                                  convictions,         in a

  1 More specifically,            the Court imposed a mandatory life sentence on
  Count One, one hundred twenty (120) months on Count Two, two hundred
  forty (240) months on Count Three, two hundred forty (240) months on
  Count Four, one hundred twenty (120) months on Count Five, one hundred
  twenty (120) months on Count Six, two hundred forty (240) months on
  Count Seven, two hundred forty (240) months on Count Eight,        two
  hundred forty (240) months on Count Nine, and two hundred forty (240)
  months on Count Fourteen, all to be served concurrently to each other
  and to the Life term; as well as three hundred (3 00) months on Count
  Ten, three hundred (300) months on Count Eleven, and three hundred
  sixty (360) months on Count Twelve,                     all to be served consecutively to
  the   concurrent        terms   and   to    each       other.       The    Court    dismissed        Count
  Thirteen as          multiplicious     on March 9,           2011.        Opinion and Order,          ECF
  No.   2 96.
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  published opinion, on May 23, 2012.                           United States v. Dire, 680

  F.3d    446     (4th       Cir.    2012) .        On     January        22,   2013,        the       United

  States Supreme Court denied Petitioner's petition for a writ of

  certiorari.          Dire v. United States,               133 S. Ct.          982       (2013).

          Petitioner filed his               § 2255 motion on July 30,                       2014.         ECF

  No.    400.     The Court ordered the Government to file a response to

  Petitioner's motion,                and the       Response was           filed on October 6,

  2014.         ECF No.      403.      Petitioner did not                 file a          Reply       in this

  matter.        Accordingly,         this matter is ripe for review.

                                     II.    STANDARD OF         REVIEW


          A federal prisoner,               in custody,         may collaterally attack his

  sentence or conviction by moving the district court                                        "to vacate,

  set    aside    or correct          the    sentence."          28   U.S.C.          §    2255(a).          To

  obtain such relief,                a petitioner bears               the burden of proving

  that his sentence or conviction was "imposed in violation of the

  Constitution          or    laws    of    the     United      States,"        that       the        district

  court     "was without            jurisdiction to          impose such sentence,"                        that

  the    sentence exceeds             "the maximum authorized by law,"                                or   that

  the sentence or conviction is "otherwise subject to collateral

  attack."        Id.        A petitioner must prove the asserted grounds for

  relief    by     a    preponderance          of    the    evidence.            Miller          v.     United

  States,       261    F.2d    546,    547     (4th      Cir.    1958) .        Because           a    §   2255

  motion "is ordinarily presented to the judge who presided at the

  original        conviction           and        sentencing          .     .     .        the         judge's
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  recollection of the events at issue"                                     may inform the resolution

  of    the    motion.         Blackledge              v.        Allison,            431     U.S.        63,    74    n.4

  (1977) .

         A § 2255 motion is,                 in essence,                   a statutory federal habeas

  corpus action that collaterally attacks a sentence or conviction

  through      the   filing         of   a   new proceeding,                         as     contrasted with             a

  direct appeal.           United States v. Hadden,                              475 F.3d 652, 663                    (4th

  Cir.   2007) .       The     existence of the right to pursue a collateral

  attack via a § 2255 motion does not displace a direct appeal as

  the    "usual      and      customary       method              of       correcting             trial        errors."

  United      States     v.    Allgood,           48        F.    Supp.          2d        554,    558     (E.D.      Va.

  1999) (citing Sunal v. Large,                    332 U.S. 174, 177                          (1947)).          To the

  contrary,       with     limited         exceptions,                 a    petitioner             advancing          new

  claims      asserted        for    the     first              time       in    a     §    2255    motion           "must

  clear a significantly higher hurdle                                  than would exist on direct

  appeal."       United States v. Frady, 456 U.S.                                    152,     166    (1982).          The

  "higher hurdle," that is,                   procedural default, applies to claims

  advanced for the first                 time in a                § 2255 motion because,                        once a

  defendant's        opportunity             to    pursue              a        direct        appeal       has       been

  waived or exhausted,               there is "a final judgment                                   [that]       commands

  respect."       Id^ at 164-65.

         The    doctrine        of       procedural               default            generally           prevents        a

  district      court      from reaching the                      merits          of       § 2255     claims         that

  were not      raised on direct appeal unless a petitioner can show:
                                                            6
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  (1)    "cause" excusing the failure to directly appeal such alleged

  errors;     and     (2)     "actual prejudice resulting from the                                  errors of

  which    he     complains."              United      States           v.    Mikalajunas,           186     F.3d

  490,    492-93       (4th       Cir.    1992).            "'The       existence        of     cause       for    a

  procedural         default         must       turn        on     something            external        to    the

  defense,        such       as   the     novelty          of     the        claim,     or     a    denial        of

  effective assistance of                  counsel.'"              United States v.                 Pettiford,

  612 F.3d 270, 280               (4th Cir. 2010)                (quoting Mikalajunas,                186 F.3d

  at 4 93).       As for prejudice,              it is not enough for a petitioner to

  demonstrate         "a     possibility         of    prejudice,"                but    rather,       he    must

  show     that       errors         "worked          to         his     actual         and        substantial


  disadvantage,              infecting          his     entire               [case]      with       error         of

  constitutional dimensions."                     Frady, 456 U.S. at 170.

          Congress         has     established              a     one-year            limitations        period

  within     which       a    petitioner         must           file    his       §    2255    motion.            28

  U.S.C.      §      2255(f).             The    one-year              limitations            period     begins

  running       on    the     latest       of    four       operative             dates:      the    "date        on

  which     the      judgment        of    conviction            becomes          final,"      the     date       on

  which     certain           government-created                  impediments            to        filing     are

  removed, the date on which a right has been newly recognized by

  the Supreme Court and made retroactively applicable to cases on

  collateral           review,            or     the            date         on       which         previously

  undiscoverable             facts    supporting the                   claim could be              discovered.

  Id.     In this case, Petitioner appears to argue his § 2255 motion
                                                        7
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  is timely pursuant to § 2255(f)(3),                        the portion of the statute

  of    limitations concerning new rights recognized by the                                   Supreme

  Court    and made         retroactively applicable                   to   cases    on collateral

  review.


                                         III.   DISCUSSION


          As   noted above,         Petitioner raises              two arguments          regarding

  the    legality      of    his    convictions.             Petitioner         asserts,       first,

  that his      convictions under 18              U.S.C.          § 924(c),     which prohibits

  the use of a        firearm in furtherance of a crime of violence,                              are

  illegal      in    light     of    the     Supreme        Court's         recent     decision    of

  Rosemond      v.    United       States,      134    S.    Ct.       1240    (2014) .       Second,

  Petitioner argues that his conviction for piracy under 18 U.S.C.

  § 1651,      is    illegal        in   light        of    the     Supreme         Court's    recent

  decision of Bond v.           United States,              134   S.    Ct.   2077    (2014) .    The

  Government         argues    that        Petitioner's           claims      are     procedurally

  defaulted and,         alternatively,           fail on the merits.2                    The Court

  will address each of Petitioner's claims                         in turn.



  2 The Government also argues that Petitioner's § 2255 Motion is
  untimely because it was not filed within one year after Petitioner's
  conviction became final on January 22, 2013.   However, the Government
  notes that its argument regarding timeliness is intertwined with its
  arguments regarding procedural default and, alternatively, the merits
  of Petitioner's claims.   Resp. of U.S. in Opp'n to Mot., 9, ECF No.
  403.   Therefore, due to the Government's alternative argument, the
  Court assumes, without deciding, that Petitioner's § 2255 motion is
  timely under § 2255(f) (3) because Petitioner appears to rely on new
  rights recognized in the Supreme Court's Rosemond and Bond decisions
  and his motion was filed within one year of those decisions.       See
  United States v. Mathur, 685 F.3d 396, 398 (4th Cir. 2012) (quoting 28
  U.S.C.    § 2253(f)(3)).
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                               A.    Rosemond v.          United States


          In Rosemond, the Supreme Court determined that a defendant,

  convicted       of    aiding        and      abetting      a     firearm       offense      under       18

  U.S.C.     §     924(c),           must       know       beforehand          that     one       of     his

  confederates will            carry a gun.                134 S. Ct.          at 1249.           Rosemond

  established that             the Government must prove that                         "the defendant

  has   chosen,        with full knowledge,                 to participate in               the    illegal

  scheme . . . ."              Id.       at    1250.        The    Supreme       Court      found       that

  advance knowledge enables a defendant to make the relevant legal

  choice:    to    attempt          to       alter a planned offense,                 "withdraw from

  the enterprise," or "go ahead with his role in the venture that

  shows his intent to aid in an armed offense."                                 Id.    at 1249.


          Petitioner         argues          that    he    was     held       responsible         for    co-

  defendants'          use     of        firearms         during       the     piracy       offense       in

  question.        However,          Petitioner argues,                 the    Government         did    not

  prove     that       Petitioner            had     "advance         knowledge"       that       his    co-

  defendants       would       use       a    firearm.       In       response,       the    Government

  asserts        that     Petitioner's               claim       is     procedurally          defaulted

  because Petitioner did not raise the issue of foreknowledge at

  trial or on direct appeal.                        Alternatively,           the Government argues

  that Petitioner's claim is deficient on the merits.

          Petitioner has procedurally defaulted his Rosemond claim by

  failing     to       raise    the          issue   of    foreknowledge          at     trial      or    on

  direct appeal.             Thus,       Petitioner must demonstrate both cause and
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  prejudice           for the Court            to consider          such claim.         Mikalajunas,

  186 F.3d at 492-93.                   Petitioner has shown neither.                   With respect

  to cause,       Petitioner has not alleged that his procedural default

   "turn[s]      on something external to the defense."                             Pettiford,         612

  F.3d    at     280.        Prior      to    trial,       several     federal    circuit       courts,

  excluding the Fourth Circuit,                        had found that a defendant could

  be guilty of aiding and abetting an offense under § 924 only if

  a defendant both knew that a firearm would be used and actively

   facilitated the use of the firearm.                             See United States v.          Bowen,

   527    F.3d    1065,       1079      n.ll       (10th    Cir.     2008)    (declining        to   make

   such    a    holding,          but       listing    cases        that    determined     as    much) .

  Thus,        there    was       no    impediment         to      Petitioner     raising       such    an

  argument        at     trial         or    on     appeal.         Therefore,     Petitioner          has

   failed to show "cause" excusing his failure to raise such error.

          As     to    prejudice,            Petitioner's          allegations     are    unavailing

   because       he    has    failed         to    demonstrate       that    he   suffered      "actual


   and    substantial             disadvantage"         which       infected      his    entire      case

   with    "error of          constitutional           dimensions."           Frady,     456 U.S.       at

   170.          Instead,          the       evidence         at     trial     demonstrated          that

   Petitioner had the requisite foreknowledge of co-defendants'                                        use

   of    firearms.           At   trial,          the Government presented evidence from

   Petitioner's April 4,                    2010 interview with Agent Knox aboard the

   Nicholas.           In that         interview,       Petitioner admitted to              willingly

   participating in the plan to pirate a merchant vessel and noted
                                                       10
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  that each man who              left      the    mother ship to              attack the         Nicholas

  had weapons and none were left behind.                              Trial Tr. at 883-84,              ECF

  No.     251.        Thus,    Petitioner         has       failed     to     demonstrate        that    he

   suffered "actual prejudice"                    resulting from the purported error.

  The      Court,      therefore,         DISMISSES          Petitioner's           Rosemond         claim,

  because Petitioner has procedurally defaulted such claim.

           In the alternative,                even if Petitioner's Rosemond claim was

  not procedurally defaulted,                     the Court DENIES Petitioner's claim

  on      the    merits.        A    jury       verdict       must     be     upheld      if    there    is

  evidence which a             reasonable         finder of         fact    could find sufficient


   to      support         a     defendant's                guilt      beyond         a        reasonable

  doubt.         United      States      v.    Newsome,        322    F.3d     328,    333     (4th    Cir.

   2003)        (citing    United        States    v.       Burgos,     94    F.3d     849,     861     (4th

   Cir.    1996).         Petitioner          contends      that     the    Government's         evidence

  was      insufficient         because          the    Government           did    not      prove     that

  Defendant had "advance knowledge" of his co-defendants'                                        actions.

  However,        evidence      of       Petitioner's          intent        and   foreknowledge         of

  his co-defendants'             firearm use was presented at trial.                             Thus, a

   reasonable         finder    of       fact     could      conclude        that     Petitioner        was

  guilty         of    the     firearm          offenses        as      charged.               Therefore,

   Petitioner's claim, based on Rosemond,                            fails on the merits.

                                    B.   Bond v.       United States


           In Bond,       the Supreme Court reversed a conviction under 18

  U.S.C.        § 229,     which     implements          the    International          Convention on
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  Chemical       Weapons          and    prohibits           the   development             or    use    of   a

  chemical weapon.                134 S.        Ct.   at 2093.           The Supreme Court found

  that    Congress          did    not        intend     § 229       to     encompass           defendant's

  purely local conduct,                  that is, defendant's sprinkling of photo-

  developing chemicals around her husband's home in hopes that he

  would       touch    the    chemicals           and    develop          an     uncomfortable          rash.

  Id.    at    2085.         The        Court     concluded        that,         in   drafting         § 229,

  Congress considered the fundamental balance between national and

  local power,         id.    at        2093,     and it did not                intend to        impose on

  Pennsylvania's            right        to     prosecute          and     punish          "unremarkable"

  criminal       conduct           committed            in     its        jurisdiction.                 Thus,

  defendant's         conduct           did     not    violate       the         prohibition        against

  chemical weapons in § 229, and her conviction was reversed.

          Petitioner summarily argues that,                              pursuant to Bond,               this

  Court "lacked jurisdiction to try, convict, and sentence him on

   [C]ount [0]ne."            Pet'r's Mot.              to Vacate,          2,    ECF No.        400.     The

  Government          asserts       that         Petitioner's             claim       is     procedurally

   defaulted and, in the alternative,                         meritless because Bond is not

   relevant to Petitioner's conviction for piracy.

          Petitioner has procedurally defaulted his claim under Bond.

   Petitioner         has     not        demonstrated          how        the     Bond       decision        is

   relevant to Petitioner's § 2255 Motion,                            or,       if Bond is        relevant,

   that Petitioner has              "cause"           excusing his          failure to raise such

   issue at      trial       or on appeal.               Petitioner's counsel raised the
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  issue    of    jurisdiction as            to     Count      One       both before             and    after

  trial.        Petitioner         provides       no    justification           why        his       present

  claim was not,          or could not be, addressed during trial or appeal

  proceedings.           Thus, Petitioner has failed to demonstrate that he

  had cause        for    his     procedural       default         in    failing          to    raise       the

  issue,    or     that    he     suffered any          "actual         prejudice"             due    to    the

  alleged error.           Therefore,       the Court DISMISSES Petitioner's Bond

  claim because Petitioner has procedurally defaulted such claim.

          In the alternative,             even if       Petitioner's Bond claim was not

  procedurally defaulted,                 the    Court       DENIES      Petitioner's            claim on

  the    merits.         The   Bond   decision         is    not    relevant         to    Petitioner's


  conviction for piracy.                  As noted above,            Bond addressed criminal

  conduct       that     was     purely    local       conduct,         and    the    Supreme           Court

  relied on established principles of federalism to interpret the

  term     "chemical weapon."              Petitioner's            piracy offense,                   instead,

  took place at           sea,    and Congress directed courts                       to    look to          the

  "law of nations"              to determine what             conduct constitutes piracy.

  Further,       Defendant        challenged           the    Court's         jurisdiction             as    to

  Count One before and after trial, and his claims were denied by

  this    Court    and the        Fourth Circuit.              Dire,      680    F.3d at              467-69.

  Therefore,       Petitioner's           claim,       related       to    Bond,          fails       on    the

  merits.




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                                            IV.   CONCLUSION


         For the reasons discussed above,                      Petitioner's                § 2255 Motion

  is DISMISSED as procedurally defaulted and,                            in the             alternative,

  DENIED      on   the merits.


         Finding that Petitioner has not made a "substantial showing

  of    the    denial         of    a    constitutional        right,"           a    certificate       of

  appealability as             to       Petitioner's        § 2255    motion          is    DENIED.     R.

  Governing § 2255 Proceedings in U.S. Dist.                           Cts.          11(a); 28 U.S.C.

   §   2253(c)(2);       see        Miller-El     v.    Cockrell,      537       U.S.       322,    336-38

   (2003) .

         Petitioner            is       ADVISED    that       because        a       certificate        of


  appealability is denied by this Court, he may seek a certificate

  from the United States Court of Appeals for the Fourth Circuit.

  R.    Gov.       §   2255    Proceedings         for      U.S.     Dist.       Cts.       11(a).      If

  Petitioner intends to seek a certificate of appealability from

   the Court of Appeals, he must forward a written notice of appeal

   to the Clerk of the United States District Court,                                       United States

  Courthouse,          600 Granby Street,              Norfolk,      Virginia,             23510,   within

   sixty (60) days from the date of this Order.

         The Clerk is DIRECTED to forward a copy of this Opinion and

  Order to Petitioner and to the United States Attorney's Office

   in Norfolk, Virginia.




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        IT   IS   SO   ORDERED



                                                              /s/7fn4rfc
                                                       Mark     S.   Davis
                                              UNITED   STATES    DISTRICT    JUDGE
  Norfolk, Virginia
  November 3n3 , 2 015




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